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                  Exhibit A
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Michael Gibaldi

From:                             SG <steve@thehcc.tv>
Sent:                             Tuesday, April 11, 2017 1:56 PM
To:                               Michael Gibaldi
Cc:                               'Riegel Deborah'; 'Isaac D. Tilton'; Michael Tremonte; Justin Gunnell
Subject:                          RE: You failed to send me a notice of deposition


You are mistaken, Mr. Gibaldi.

A) Your Notice of Deposition back on November of 2016 has long since been made obsolete by changes in
discovery scheduling.

B) The judge did NOT order that I be deposed in your offices if you fail to even send me a notice of
depositions. The judge simply denied my request to conduct depositions in the federal court. He did not insist
that the deposition be carried out in your offices instead of telephonically.

C) The judge did not force April 13th either. "Unless the parties can agree to other arrangements", he wrote.

So, we sit here now with me being gracious to even allow the deposition at all since you made yet another
mistake and violated FRCP 30(b).

Despite all of that, I am willing to do telephonic deposition, we have done with Milstein, McCabe, and Koenig.


From: Michael Gibaldi [mailto:MGibaldi@shertremonte.com]
Sent: Tuesday, April 11, 2017 1:37 PM
To: 'SG'; Riegel Deborah; Isaac D. Tilton; Michael Tremonte; Justin Gunnell
Subject: RE: You failed to send me a notice of deposition

Dr. Greer,

We urge you to reconsider your refusal to appear for your deposition on April 13. Contrary to your email, we did, in fact,
notice your deposition on November 14, 2016. Moreover, you yourself raised the issue of the deposition venue with the
Court and, on February 8, 2017, Judge Cott ordered that your deposition be held at our offices. (See Order at 5, ECF No.
241.) Most recently, the Court ordered that your deposition take place on April 13, 2017. (See Order at 1, ECF No.
299.) Thus, your position is meritless. Before we seek relief from the Court, however, we are affording you an
opportunity to agree to be deposed, as scheduled and ordered by Judge Cott, in our offices on April 13.

No later than 3 p.m. today, please inform us whether you agree to appear in person for your deposition.

Regards,

Michael

From: SG [mailto:steve@thehcc.tv]
Sent: Tuesday, April 11, 2017 12:37 PM
To: Riegel Deborah <driegel@rosenbergestis.com>; Isaac D. Tilton <itilton@rosenbergestis.com>; Michael Tremonte
<MTremonte@shertremonte.com>; Michael Gibaldi <MGibaldi@shertremonte.com>; Justin Gunnell

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<JGunnell@shertremonte.com>
Subject: You failed to send me a notice of deposition

Since you failed to send me a notice of deposition, you have lost the right to depose me. The judge’s order (Dkt.
No. 299) does not replace a notice of deposition. Moreover, it allows for changes in those dates set if the parties
agree.

The Cott order also allows for telephonic depositions, which we have already opted into three times.

However, I will still agree to be deposed. But given the expense of staying in New York overnight, and my time
off work, I will not be staying in New York overnight on April 12th. Rather, I will be flying back to Ohio that
same evening.

I will agree to a telephonic deposition on the 13th. I called the TSG reporters and they do this often. I do not
have to be in the same room as the court reporter to be sworn in. Also, Ohio has no laws that specify how
telephonic depositions need to be conducted.



Steven Greer
(212) 945-7252




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